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UNITED STATES DISTRICT COURT                                                                   12/3/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On November 25, 2020, counsel for Defendant Ghislaine Maxwell filed a letter request

seeking an in camera conference for the presentation of a renewed motion for release on bail and

a request to seal the November 25, 2020 letter in its entirety. The Court required justification for

the sealing request. On November 30, 2020, the defense counsel filed a second letter no longer

fully pressing the unsupported request to file the letter entirely under seal and instead proposing

redactions to both the November 25th and November 30th letters. The Government has

indicated that it does not oppose the redactions. Dkt. No. 80.

       After due consideration, the Court will adopt the Defendant’s proposed redactions, which

are consented to by the Government. The Court’s decision is guided by the three-part test

articulated by the Second Circuit in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir.

2006). Under this test, the Court must: (i) determine whether the documents in question are

“judicial documents;” (ii) assess the weight of the common law presumption of access to the

materials; and (iii) balance competing considerations against the presumption of access. Id. at

119–20. “Such countervailing factors include but are not limited to ‘the danger of impairing law

enforcement or judicial efficiency’ and ‘the privacy interests of those resisting disclosure.’” Id.

at 120 (quoting United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995) (“Amodeo II”)).


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       The proposed redactions satisfy this test. First, the Court finds that the Defendant’s letter

motions are “relevant to the performance of the judicial function and useful in the judicial

process,” thereby qualifying as a “judicial document” for purposes of the first element of the

Lugosch test. United States v. Amodeo (“Amodeo I”), 44 F.3d 141, 145 (2d Cir. 1995). And

while the Court assumes that the common law presumption of access attaches, in balancing

competing considerations against the presumption of access, the Court finds that the arguments

the Defendant has put forth—including, most notably, the privacy interests of the individuals

referenced in the letters—favor her proposed and tailored redactions. The Defendant is hereby

ORDERED to docket the redacted versions of the two letters by December 4, 2020.

       For the reasons outlined in the Government’s letter dated December 2, 2020, Dkt. No. 80,

the Court DENIES the Defendant’s request for an in camera conference. In order to protect the

privacy interests referenced in the Defendant’s November 25, 2020 letter, the Court will permit

the Defendant to make her submission in writing and to propose narrowly tailored redactions.

       The parties are hereby ORDERED to meet and confer and to jointly prepare a briefing

schedule for the Defendant’s forthcoming renewed motion for release on bail.

       SO ORDERED.

Dated: December 3, 2020                          __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge




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